                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

  LED WAFER SOLUTIONS LLC                        §
                                                 §
            Plaintiff,                           §
                                                 §
  v.                                             §       Case No. 6:21-cv-292
                                                 §
  SAMSUNG ELECTRONICS CO.,                       §       JURY TRIAL DEMANDED
  LTD., and SAMSUNG ELECTRONICS                  §
  AMERICA, INC.,                                 §
                                                 §
            Defendants.

                     COMPLAINT FOR PATENT INFRINGEMENT

       LED Wafer Solutions LLC (“LED Wafer” or “Plaintiff”), by and through its

attorneys, for its Complaint for patent infringement against Samsung Electronics

Co., Ltd. and Samsung Electronics America, Inc. (collectively, “Samsung” or

“Defendants”), and demanding trial by jury, hereby alleges, on information and belief

with regard to the actions of Defendants and on knowledge with regard to its own

actions, as follows:

                           I.     NATURE OF THE ACTION

       1.        This is an action for patent infringement arising under the patent laws

of the United States, 35 U.S.C. §§ 271, et seq., to enjoin and obtain damages resulting

from Defendants’ unauthorized use, sale, and offer to sell in the United States, of

products, methods, processes, services and/or systems that infringe Plaintiff’s United

States patents, as described herein.

       2.        Defendants, individually and collectively as a single business entity,

manufacture, provide, use, sell, offer for sale, import, and/or distribute infringing




                                             1
products and services, and encourages others to use their products and services in an

infringing manner, as set forth herein.

         3.   Plaintiff seeks past and future damages and prejudgment and post-

judgment interest for Defendants’ infringement of the Asserted Patents, as defined

below.

                                  II.     PARTIES

         4.   Plaintiff LED Wafer is a limited liability company organized and

existing under the law of the State of Delaware, with its principal place of business

located at7215 Bosque Blvd., Suite 156, Waco, TX 76710.

         5.   LED Wafer is the owner of the entire right, title, and interest of the

Asserted Patents, as defined below.

         6.   On information and belief, Defendant Samsung Electronics Co., Ltd. is

a Korean corporation with its principal place of business at 129 Samsung-Ro

Yeongtong-gu, Gyeonggi-do 16677 Suwon-Shi, Republic of Korea. Samsung

Electronics Co., Ltd. may be served pursuant to FED. R. CIV. P. 4(f)(1).

         7.   On information and belief, Defendant Samsung Electronics America,

Inc. is a New York corporation with its principal place of business at 85 Challenger

Rd., Ridgefield Park, New Jersey 97660. Samsung Electronics America, Inc. is a

wholly-owned subsidiary of Samsung Electronics Co., Ltd. Samsung Electronics

America, Inc. may be served through its registered agent CT Corporation System,

1999 Bryan Street, Suite 900, Dallas, Texas 75201.




                                          2
        8.    On information and belief, Samsung Electronics America, Inc. is

registered to do business in the State of Texas and has been since at least June 10,

1996.

        9.    On information and belief, Samsung Electronics America, Inc. conducts

business operations in the Western District of Texas in its facilities at 12100

Samsung Blvd., Austin, Texas 78754. Samsung Electronics America, Inc. has offices

in the Western District of Texas where it sells and/or markets its products, including

an office in Austin, Texas.

                       III.   JURISDICTION AND VENUE

        10.   This is an action for patent infringement that arises under the patent

laws of the United States, in particular, 35 U.S.C. §§ 271, 281, 283, 284, and 285.

        11.   This Court has exclusive jurisdiction over the subject matter of this

action under 28 U.S.C. §§ 1331 and 1338(a).

        12.   This Court has personal jurisdiction over Samsung Electronics Co., Ltd.

in this action because Samsung Electronics Co., Ltd. has committed acts within the

Western District of Texas giving rise to this action and has established minimum

contacts with this forum such that the exercise of jurisdiction over Samsung

Electronics Co., Ltd. would not offend traditional notions of fair play and substantial

justice. Samsung Electronics Co., Ltd., directly and/or through subsidiaries or

intermediaries (including distributors, retailers, and others), has committed and

continues to commit acts of infringement in this District by, among other things,

offering to sell and selling products and/or services that infringe the patents-in-suit.




                                           3
Moreover, Samsung Electronics Co., Ltd. actively directs its activities to customers

located in the State of Texas.

      13.    This Court has personal jurisdiction over Samsung Electronics America,

Inc. in this action because Samsung Electronics America, Inc. has committed acts

within the Western District of Texas giving rise to this action and has established

minimum contacts with this forum such that the exercise of jurisdiction over

Samsung Electronics America, Inc. would not offend traditional notions of fair play

and substantial justice. Samsung Electronics America, Inc., directly and/or through

subsidiaries or intermediaries (including distributors, retailers, and others), has

committed and continues to commit acts of infringement in this District by, among

other things, offering to sell and selling products and/or services that infringe the

patents-in-suit. Moreover, Samsung Electronics America, Inc. is registered to do

business in the State of Texas, has offices and facilities in the State of Texas, and

actively directs its activities to customers located in the State of Texas.

      14.    Venue is proper in this District under 28 U.S.C. §§ 1391(b)-(d) and

1400(b) for both Defendants. Samsung Electronics Co., Ltd. is a foreign corporation

not residing in the United States. Upon information and belief, Samsung Electronics

Co., Ltd. has transacted business in the Western District of Texas and has committed

acts of direct and indirect infringement in the Western District of Texas. Samsung

Electronics America, Inc. is registered to do business in the State of Texas, has offices

in the State of Texas, and upon information and belief, has transacted business in the

Western District of Texas and has committed acts of direct and indirect infringement




                                           4
in the Western District of Texas. Samsung Electronics America, Inc. maintains a

regular and established place of business in the Western District of Texas, including

an office located at 12100 Samsung Blvd., Austin, Texas 78754.

                 IV.    COUNTS OF PATENT INFRINGEMENT

      15.    Plaintiff alleges that Defendants have infringed and continue to infringe

the following United States patents (collectively, the “Asserted Patents”):

         United States Patent No. 8,941,137 (the “’137 Patent”) (Exhibit A)
         United States Patent No. 8,952,405 (the “’405 Patent”) (Exhibit B)
         United States Patent No. 9,502,612 (the “’612 Patent”) (Exhibit C)
         United States Patent No. 9,786,822 (the “’822 Patent”) (Exhibit D)

                             COUNT ONE
                  INFRINGEMENT OF U.S. PATENT 8,941,137

      16.    Plaintiff incorporates by reference the allegations in all preceding

paragraphs as if fully set forth herein.

      17.    The ’137 Patent, entitled “LIGHT EMITTING DIODE PACKAGE AND

METHOD OF MANUFACTURE,” was filed on March 6, 2012, claims priority to a

provisional application filed on March 6, 2011, and issued on January 27, 2015.

      18.    Plaintiff is the assignee and owner of all rights, title, and interest to the

’137 Patent, including the right to recover for past infringements, and has the legal

right to enforce the patent, sue for infringement, and seek equitable relief and

damages.

                               Technical Description

      19.    The ’137 Patent claims a “light emitting diode (LED) device and

packaging . . . manufactured using a vertical configuration including a plurality of




                                           5
layers.” ’137 Patent, abstract. LEDs “compare favorably to other sources of light and

are especially useful in certain applications and markets [by providing] advantages

with respect to energy efficiency, compact, rugged long-lasting design and form factor,

as well as other advantages.” ’137 Patent, 1:27-39. Prior art and “conventional LED

devices [however] can be relatively costly to manufacture by some metrics when

compared to other light sources. One reason for this is the exacting packaging

requirements for manufacturing LEDs. [C]onventional techniques require the use of

a carrier substrate to support the LED, which can double the cost of making and

packaging the LED device. In addition, the carrier substrate greatly increases the

thermal resistivity of the device and adversely affects its heat removal

characteristics. Accordingly, there is a need for LED devices that do not suffer from

[these] problems.” ’137 Patent, 1:27-62.

      20.    The ’137 Patent provides a technical solution to prior art problems by

providing a LED having a plurality of layers. “Certain layers act to promote

mechanical, electrical, thermal, or optical characteristics of the device. The device

avoids design problems, including manufacturing complexities, costs and heat

dissipation problems found in conventional LEDs.” ’137 Patent, 2:2-10. The layers

may include “a semiconductor LED including doped and intrinsic regions thereof; a

conducting carrier layer disposed proximal to a first surface of said semiconductor

LED and separated therefrom by a metallic interface; an optically permissive layer

proximal to a second surface of said semiconductor LED, said first and second

surfaces of said semiconductor LED being on opposing faces thereof, an optically




                                           6
definable material proximal to or within said optically permissive layer that affects

an optical characteristic of emitted light passing therethrough; and an optically

permissive cover substrate covering at least a portion of the above components.” ’137

Patent, 2:12-24.

                                Direct Infringement

      21.    Defendants, individually and collectively as a common business

enterprise and without authorization or license from Plaintiff, have been and are

directly infringing the ’137 Patent, either literally or equivalently, as infringement is

defined by 35 U.S.C. § 271, including through making, using (including for testing

purposes), importing, selling, and offering for sale LEDs that infringe one or more

claims of the ’137 Patent. Defendants, individually and collectively as a common

business enterprise, develop, design, manufacture, sell, and distribute LEDs that

infringe one or more claims of the ’137 Patent. Defendants further provide services

that practice methods that infringe one or more claims of the ’137 Patent. Defendants

are thus liable for direct infringement pursuant to 35 U.S.C. § 271. Exemplary

infringing products include, but are not limited to, the Samsung Galaxy S8 mobile

phone and Samsung LM101A Series LED.

      22.    Plaintiff names these exemplary infringing instrumentalities to serve as

notice of Defendants’ infringing acts, but Plaintiff reserves the right to name

additional infringing products, known to or learned by Plaintiff or revealed during

discovery, and include them in the definition of ’137 Accused Products.




                                           7
      23.    Defendants are liable for direct infringement pursuant to 35 U.S.C.

§ 271 for the manufacture, sale, offer for sale, importation, or distribution of the

Samsung Galaxy S8 mobile phone and Samsung LED backlight strips.

      24.    The Samsung Galaxy S8 mobile phone has a flash LED that is a non-

limiting example of a LED that meets all limitations of claim 1 of the ’137 Patent,

either literally or equivalently.

      25.    The Samsung Galaxy S8 has a light emitting device (LED) that serves

as a flash for the camera, as well as a light source for various applications:




      26.    The Samsung Galaxy S8’s LED is a semiconductor LED including doped

and intrinsic regions. The semiconductor LED is a doped GaN LED. The LED has a

positively doped region, a negatively doped region, and an intrinsic region between

the positively doped region and the negatively doped region. The intrinsic region lies

between the two doped regions:




                                           8
                    BackscatteredElectron Image       Magnification IS00X


      27.    The negatively doped region of GaN corresponds to the cathode while

the positively doped region of GaN corresponds to the anode of the LED. Such doping

is required for a LED to function. The intrinsic region lies between the two doped

regions.

      28.    The Samsung Galaxy S8’s LED has a conducting support layer of no

more than 50 microns in thickness disposed proximal to a first surface of said

semiconductor LED and separated therefrom by a metallic interface with no

additional intervening layers. The conducting support layer is at the electrode. At the

electrode, the gold and other metals conducting support layer is right next to the

silver metallic interface, which both conducts electricity and reflects any photons

towards the phosphor doped layer. There is a conducting support layer of less than

50 microns made up of various metals next to one surface of the semiconductor LED.

There is also a metallic interface made of silver.




                                                  9
                                                                       Metallic interface (Ag)



                                                                       Conducting Support
                                                                       Layer


                                                                       First surface of
                                                                       semiconductor LED




   Backscattered Electron Image         Magnification: 7000X


       29.      The conducting support layer is the gold and other metal layers (Ti - Ni).

The metallic interface is the silver used to reflect any backscattered light.




                                              10
                                                            Conducting Support
                                                            Layer (Au, Ti - Ni) <50
                                                            microns




      30.   The Samsung Galaxy S8’s LED has an optically permissive layer

proximal to a second surface of said semiconductor LED, said first and second

surfaces of said semiconductor LED being on opposing faces thereof. There is an

optically permissive layer of yellow phosphorus on top of the semiconductor LED:




                                        11
      31.    The optically permissive layer is on the opposing side of the LED from

the conducting support layer. When the optically permissive layer is removed, the

surface of the LED is exposed:




                                                                500µm




      32.    The Samsung Galaxy S8’s LED has an optically definable material

proximal to or within said optically permissive layer that affects an optical

characteristic of emitted light passing therethrough. The optically definable material

is yellow phosphor contained within the yellow portion covering the LED, which

changes the blue light emitted from the LED into white light:




                                         12
                                                     J




                                                     J


      33.    This is how white light LEDs are generally made (and why they appear

to have a yellow surface).

      34.    The Samsung Galaxy S8’s LED has an optically permissive flat cover

substrate covering at least a portion of the above components. There is a transparent

cover substrate made of silicon that was removed to reveal the yellow layer doped

with phosphorus. The flash LED is protected by an optically transparent cover

substrate, as shown:




      35.    The optically transparent cover substrate may be removed to expose the

remaining layers of the LED:




                                         13
      36.    The Samsung Galaxy S8’s LED has a metal pad between the

semiconductor LED and said optically permissive layer:




                                                               500µm




      37.    The first surface of the Samsung Galaxy S8’s LED, the metallic interface

and the conducting support layer are all electrically coupled to one another:




                                         14
                                                                    Metallic interface (Ag)



                                                                    Conducting Support
                                                                    Layer (Au and Ti - Ni)


                                                                    First surface of
                                                                    semiconductor LED




   Backscattered Electron Image        Magnification: 7000X




  Backscattered Electron Image         Magnification: 2000X


                                  Willful Infringement

       38.      Upon information and belief, Defendants have had actual knowledge (or

should have been aware) of the ’137 Patent and its infringement since at least 2013.




                                            15
       39.    By at least 2013, Viagan (the previous owner of the patents prior to their

assignment to LED Wafer Solutions LLC) had a series of meetings with technical

personnel at Samsung.

       40.    On information and belief, at least Peter JH Lee, a senior researcher at

Samsung, had access to technical information from Viagan.

       41.    Upon information and belief, at least some of this technical material

described Viagan’s LED technology and clearly stated that Viagan had five pending

patent applications.

       42.    Further, Defendants have had actual knowledge of the ’137 Patent and

its infringement since at least service of Plaintiff’s Complaint.

       43.    Although Samsung has incorporated Viagan’s patented technology as

set forth in this Complaint, Samsung has no license to use the technology described

in Viagan’s technical materials and claims and disclosed in the patents, which have

now been assigned to LED Wafter Solutions LLC

       44.    Defendants’ risk of infringement of the patents-in-suit was either known

or was so obvious that it should have been known to Defendants.

       45.    Notwithstanding this knowledge, Defendants have knowingly or with

reckless disregard willfully infringed the ’137 Patent. Defendants have thus had

actual notice of the infringement of the ’137 Patent and acted despite an objectively

high likelihood that their actions constituted infringement of Plaintiff’s valid patent

rights, either literally or equivalently.




                                            16
      46.    This objective risk was either known or so obvious that it should have

been known to Defendants. Accordingly, Defendants’ infringement has been and

continues to be willful, and Plaintiff seeks enhanced damages pursuant to 35 U.S.C.

§§ 284 and 285.

              Indirect, Induced, and Contributory Infringement

      47.    Defendants have induced and are knowingly inducing their distributors,

testers, trainers, customers, and/or end-users to directly infringe the ’137 Patent,

with the specific intent to induce acts constituting infringement, and knowing that

the induced acts constitute patent infringement, either literally or equivalently.

      48.    Defendants have knowingly contributed to direct infringement by their

customers by having imported, sold, and/or offered for sale, and knowingly importing,

selling, and/or offering to sell within the United States the ’137 Accused Products

which are not suitable for substantial non-infringing use and which are especially

made or especially adapted for use by its customers in an infringement of the asserted

patent.

      49.    Defendants’ indirect infringement includes, for example, providing data

sheets, technical guides, demonstrations, software and hardware specifications,

installation guides, and other forms of support that induce their customers and/or

end-users to directly infringe the ’137 Patent.

      50.    Defendants’ indirect infringement additionally includes marketing their

products for import by their customers into the United States. Defendants’ indirect

infringement further includes providing product specifications instructing its




                                          17
customers on infringing uses of the accused products. The ’137 Accused Products are

designed in such a way that when they are used for their intended purpose, the user

infringes the ’137 Patent, either literally or equivalently. Defendants know and

intend that customers who purchase the ’137 Accused Products will use those

products for their intended purpose. For example, Defendant’s United States website,

https://www.samsung.com, instructs customers to use the ’137 Accused Products in

numerous infringing applications. Defendants’ customers directly infringe the ’137

patent when they follow Defendant’s provided instructions. Defendants specifically

intend that their customers, such as United States distributors, retailers and

consumer product companies, will import, use, and sell infringing products in the

United States to serve and develop the United States market for Defendants’

infringing products.

      51.    Defendants know following their instructions directly infringes claims

of the ’137 Patent and Defendants’ customers who follow Defendants’ provided

instructions directly infringe the ’137 Patent.

      52.    As a result of Defendants’ infringement, Plaintiff has suffered monetary

damages, and is entitled to an award of damages adequate to compensate it for such

infringement which, by law, can be no less than a reasonable royalty, together with

interest and costs as fixed by this Court under 35 US.C. § 284.

                             COUNT TWO
                  INFRINGEMENT OF U.S. PATENT 8,952,405

      53.    Plaintiff incorporates by reference the allegations in preceding

paragraphs 1 – 15 as if fully set forth herein.



                                          18
      54.    The ’405 Patent, entitled “LIGHT EMITTING DIODE PACKAGE AND

METHOD OF MANUFACTURE,” was filed on March 6, 2012, claims priority to a

provisional application filed on March 6, 2011, and issued on February 10, 2015.

      55.    Plaintiff is the assignee and owner of all rights, title, and interest to the

’405 Patent, including the right to recover for past infringements, and has the legal

right to enforce the patent, sue for infringement, and seek equitable relief and

damages.

                               Technical Description

      56.    The ’405 Patent claims a “light emitting diode (LED) device and

packaging . . . manufactured using a vertical configuration including a plurality of

layers.” ’405 Patent, abstract. LEDs “compare favorably to other sources of light and

are especially useful in certain applications and markets [by providing] advantages

with respect to energy efficiency, compact, rugged long-lasting design and form factor,

as well as other advantages.” ’405 Patent, 1:32-44. Prior art and “conventional LED

devices [however] can be relatively costly to manufacture by some metrics when

compared to other light sources. One reason for this is the exacting packaging

requirements for manufacturing LEDs. [C]onventional techniques require the use of

a carrier substrate to support the LED, which can double the cost of making and

packaging the LED device. In addition, the carrier substrate greatly increases the

thermal resistivity of the device and adversely affects its heat removal

characteristics. Accordingly, there is a need for LED devices that do not suffer from

[these] problems.” ’405 Patent, 1:45-67.




                                           19
      57.    The ’405 Patent provides a technical solution to prior art problems by

providing a LED having a plurality of layers. “Certain layers act to promote

mechanical, electrical, thermal, or optical characteristics of the device. The device

avoids design problems, including manufacturing complexities, costs and heat

dissipation problems found in conventional LEDs.” ’405 Patent, 2:6-14. The layers

may include “a semiconductor LED including doped and intrinsic regions thereof; a

conducting carrier layer disposed proximal to a first surface of said semiconductor

LED and separated therefrom by a metallic interface; an optically permissive layer

proximal to a second surface of said semiconductor LED, said first and second

surfaces of said semiconductor LED being on opposing faces thereof, an optically

definable material proximal to or within said optically permissive layer that affects

an optical characteristic of emitted light passing therethrough; and an optically

permissive cover substrate covering at least a portion of the above components.” ’405

Patent, 2:15-27.

                                Direct Infringement

      58.    Defendants, individually and collectively as a common business

enterprise and without authorization or license from Plaintiff, have been and are

directly infringing the ’405 Patent, either literally or equivalently, as infringement is

defined by 35 U.S.C. § 271, including through making, using (including for testing

purposes), importing, selling, and offering for sale LEDs that infringe one or more

claims of the ’405 Patent. Defendants, individually and collectively as a common

business enterprise, develop, design, manufacture, sell, and distribute LEDs that




                                           20
infringe one or more claims of the ’405 Patent. Defendants further provide services

that practice methods that infringe one or more claims of the ’405 Patent. Defendants

are thus liable for direct infringement pursuant to 35 U.S.C. § 271. Exemplary

infringing products include, but are not limited to, the Samsung LM101A Series LED,

Samsung LED backlight strips such as those used in the Samsung TU8000 Smart

Television, and Samsung LED flash devices as used in the Samsung Galaxy S20

smartphone, Samsung Galaxy S9 smartphone, Samsung Note 20 smartphone, and

the Samsung Galaxy Tab S7 tablet.

      59.    Plaintiff names these exemplary infringing instrumentalities to serve as

notice of Defendants’ infringing acts, but Plaintiff reserves the right to name

additional infringing products, known to or learned by Plaintiff or revealed during

discovery, and include them in the definition of ’405 Accused Products.

      60.    Defendants are liable for direct infringement pursuant to 35 U.S.C.

§ 271 for the manufacture, sale, offer for sale, importation, or distribution of the

Samsung Galaxy S20 mobile phone and Samsung LED backlight strips and other

similar products.

      61.    The Samsung Galaxy S20 mobile phone has a flash LED that is a non-

limiting example of a LED that meets all limitations of claim 1 of the ’405 Patent,

either literally or equivalently.

      62.    The Samsung Galaxy S20 has a light emitting device (LED) that serves

as a flash for the camera, as well as a light source for various applications:




                                          21
      63.     The Samsung Galaxy S20’s LED is a semiconductor LED including

doped and intrinsic regions. The semiconductor LED is a doped GaN LED. The LED

has a positively doped region, a negatively doped region, and an intrinsic region

between the positively doped region and the negatively doped region. The intrinsic

region lies between the two doped regions:




                                                                    Recess in GaN layer to expose
                                                                    negatively doped region




        Backscattered Electron Image         Magnification: l000X
                                       (b)


      64.     The negatively doped region of GaN corresponds to the cathode while

the positively doped region of GaN corresponds to the anode of the LED. Such doping



                                              22
is required for a LED to function. The intrinsic region lies between the two doped

regions.

         65.       The Samsung Galaxy S20’s LED has a metallization layer which is an

electrically conducting metallization layer. The metallization layer is in direct contact

with portions of the GaN semiconductor that are positively and negatively doped.




                                                                 Electrically conducting
                                                                 metallization layer in contact
                                                                 with negatively doped surface




  Backscattered Electron Image         Magnification: 15,000X
                                 (b)




                                                                  Electrically conducting
                                                                  metallization layer in contact
                                                                  with positively doped surface




  Backscattered Electron Image         Magnification: 12,000X




                                                      23
               66.     The electrically conducting metallization layer is in direct contact with

exposed surfaces of portions of both the positively doped and negatively doped GaN,

and the positively doped and negatively doped surfaces are parallel with each other.




 RL11'.r•r•1                  f1,1~   ~•111
    ?r i1tf
    Backscanered Electron Image         Magnification: S000X



               67.     The Samsung Galaxy S20’s LED die is a sapphire layer in direct contact

with the first surface of the LED.




                                                                       Sapphire layer (aluminum
                                                                       oxide) in direct contact with
                                                                       the GaN LED




    Backscattered Electron Image              Magnification: l000X



               68.     The positively doped surface is in contact with the electrically

conducting metallization layer and is on the opposing side of the LED from the

sapphire layer.


                                                               24
      69.    The Samsung Galaxy S20’s LED chip is covered by a phosphor

encapsulant in direct contact with the sapphire layer. The phosphor encapsulant is

the optically permissive layer and the phosphor is the optically definable material.

The phosphor changes the frequency of some of the light emitted from the LED that

passes through the phosphor encapsulant. The yellow material over the chip is

consistent with a phosphor-containing covering.




                                                   Phosphor encapsulant
                                                   (optically permissive layer)




      70.    This is how white light LEDs are generally made (and why they appear

to have a yellow surface).

      71.    The Samsung Galaxy S20’s LED is covered by a clear lens in the outer

case of the smartphone.




                                        25
                                                           Cover substrate for the Galaxy
                                                           S8 smartphone




        72.       There is a passivation layer of silicon oxide in direct contact with the

metallization layer (gold contact) and GaN semiconductor LED of the Samsung

Galaxy S20.




                                                                             Silicon oxide passivation layer
                                                                             in direct contact with GaN and
                                                                             metallization layer




  Backscattered Electron Image         Magnification: 15,000X
                                 (b)




                                                    26
                                                                    Silicon oxide
                                                                    passivation layer in
                                                                    direct contact with
                                                                    GaN, sapphire layer,
                                                                    and optically
                                                                    permissive layer




  Backscanered Electron Image             Magnification: 1000X

      73.     The passivation layer extends across the entire LED chip and is in direct

contact with the optically permissive layer (phosphor) and sapphire layer (aluminum

oxide) at the edge of the chip.

      74.     The upper metallization layer is in direct contact with the negatively

doped GaN LED through a first contact hole in the SiO passivation layer. Outside the

first contact hole, the SiO passivation layer separates the metallization layer from

the GaN LED.




                                          27
                                                                            GaN LED


                                                                        First Contact Hole




                                                                      Metallization Layer




                                                                      SiO Passivation Layer

  Backscattered Electron Image         Magnification: 15,000X
                                 (b)


        75.      The lower metallization layer is in direct contact with the positively

doped GaN LED through a second contact hole in the SiO passivation layer. Outside

the first contact hole, the SiO passivation layer separates the metallization layer from

the GaN LED.

                                                                SiO Passivation
                                                                Layer



                                                                  Metallization Layer




                                                                  Second Contact
                                                                  Hole



  Backscattered Electron Image         Magnification: 2000X




                                                28
                                                                            GaN LED




                                                                            Metallization Layer




                                                                            SiO Passivation
                                                                            Layer


  Backscattered Electron Image       Magnification: 12.000X


        76.      The surfaces of the metallization layer, the GaN LED, and the phosphor

optically permissive layer are parallel with one another.

                                                              Phosphor optically transmissive layer is coated
                                                              on top of the Samsung Galaxy S8’s LED, so its
                                                              surface is parallel to the top of the LED. The top
                                                              of the LED is parallel to the bottom. Said upper
                                                              metal surface, said lower metal surface, said
                                                              negatively-doped surface, said positively-doped
                                                              surface are parallel.




                                              29
                                Willful Infringement

      77.    Upon information and belief, Defendants have had actual knowledge (or

should have been aware) of the ’405 Patent and its infringement since at least 2013.

      78.    By at least 2013, Viagan (the previous owner of the patents prior to their

assignment to LED Wafer Solutions LLC) had a series of meetings with technical

personnel at Samsung.

      79.    On information and belief, at least Peter JH Lee, a senior researcher at

Samsung, had access to technical information from Viagan.

      80.    Upon information and belief, at least some of this technical material

described Viagan’s LED technology and clearly stated that Viagan had five pending

patent applications.

      81.    Further, Defendants have had actual knowledge of the ’405 Patent and

its infringement since at least service of Plaintiff’s Complaint.




                                          30
       82.    Although Samsung has incorporated Viagan’s patented technology as

set forth in this Complaint, Samsung has no license to use the technology described

in Viagan’s technical materials and claims and disclosed in the patents, which have

now been assigned to LED Wafter Solutions LLC

       83.    Defendants’ risk of infringement of the patents-in-suit was either known

or was so obvious that it should have been known to Defendants.

       84.    Notwithstanding this knowledge, Defendants have knowingly or with

reckless disregard willfully infringed the ’405 Patent. Defendants have thus had

actual notice of the infringement of the ’405 Patent and acted despite an objectively

high likelihood that their actions constituted infringement of Plaintiff’s valid patent

rights, either literally or equivalently.

       85.    This objective risk was either known or so obvious that it should have

been known to Defendants. Accordingly, Defendants’ infringement has been and

continues to be willful, and Plaintiff seeks enhanced damages pursuant to 35 U.S.C.

§§ 284 and 285.

               Indirect, Induced, and Contributory Infringement

       86.    Defendants have induced and are knowingly inducing their distributors,

testers, trainers, customers, and/or end-users to directly infringe the ’405 Patent,

with the specific intent to induce acts constituting infringement, and knowing that

the induced acts constitute patent infringement, either literally or equivalently.

       87.    Defendants have knowingly contributed to direct infringement by their

customers by having imported, sold, and/or offered for sale, and knowingly importing,




                                            31
selling, and/or offering to sell within the United States the ’405 Accused Products

which are not suitable for substantial non-infringing use and which are especially

made or specially adapted for use by its customers in an infringement of the asserted

patent.

      88.    Defendants’ indirect infringement includes, for example, providing data

sheets, technical guides, demonstrations, software and hardware specifications,

installation guides, and other forms of support that induce their customers and/or

end-users to directly infringe the ’405 Patent.

      89.    Defendants’ indirect infringement additionally includes marketing their

products for import by their customers into the United States. Defendants’ indirect

infringement further includes providing product specifications instructing its

customers on infringing uses of the accused products. The ’405 Accused Products are

designed in such a way that when they are used for their intended purpose, the user

infringes the ’405 Patent, either literally or equivalently. Defendants know and

intend that customers who purchase the ’405 Accused Products will use those

products for their intended purpose. For example, Defendant’s United States website,

https://www.samsung.com, instructs customers to use the ’405 Accused Products in

numerous infringing applications. Defendants’ customers directly infringe the ’405

patent when they follow Defendant’s provided instructions. Defendants specifically

intend that their customers, such as United States distributors, retailers and

consumer product companies, will import, use, and sell infringing products in the




                                          32
United States to serve and develop the United States market for Defendants’

infringing products.

        90.   Defendants know following their instructions directly infringes claims

of the ’405 Patent and Defendants’ customers who follow Defendants’ provided

instructions directly infringe the ’405 Patent.

        91.   As a result of Defendants’ infringement, Plaintiff has suffered monetary

damages, and is entitled to an award of damages adequate to compensate it for such

infringement which, by law, can be no less than a reasonable royalty, together with

interest and costs as fixed by this Court under 35 US.C. § 284.

                            COUNT THREE
                  INFRINGEMENT OF U.S. PATENT 9,502,612

        92.   Plaintiff incorporates by reference the allegations in preceding

paragraphs 1 – 15 as if fully set forth herein.

        93.   The ’612 Patent, entitled “LIGHT EMITTING DIODE PACKAGE WITH

ENHANCED HEAT CONDUCTION,” was filed on October 7, 2013, claims priority to

a provisional application filed on September 20, 2009, and issued on November 22,

2016.

        94.   Plaintiff is the assignee and owner of all rights, title, and interest to the

’612 Patent, including the right to recover for past infringements, and has the legal

right to enforce the patent, sue for infringement, and seek equitable relief and

damages.

                                Technical Description




                                            33
      95.    The ’612 Patent claims a “light emitting diode (LED) device and

packaging with enhanced heat conduction.” ’612 Patent, abstract. LED “is a

semiconductor device that is configured to receive electrical power to simulate an

output of electromagnetic radiation commonly in the visible range of the [light]

spectrum.” ’612 Patent, 1:29-32. “Packaging of electronic devices, such as light

emitting diodes (LEDs) and other devices, represent a major cost in the production of

electronic parts. In one non-limiting example, LEDs which offer long lifetime,

compact form factor, [s]uperior energy efficiency, and RohS compliancy are expensive

due to the packaging requirements which include sealing, optics, phosphor and

efficient heat conduction. There have been numerous efforts to reduce the cost of the

electronic device packaging by using [silicon-based] wafer level assembly

technologies. However, these approaches still require a carrier chip for the electronic

device and in most cases the carrier chip doubles the cost, and in the case of an LED

triples the heat resistivity.” ’612 Patent, 1:40-52. Despite the efforts made to reduce

the cost of conventional LED packaging, such as Wafer Level assembly Packaging

(WPL), these techniques still require the use of carrier substrate to support the LED,

which can increase the cost of making and packaging the LED device. ’612 Patent,

3:17-38. “In addition, the carrier Substrate greatly increases the thermal resistivity

of the device and adversely affects its heat removal characteristics. Hence it is

desirable to provide a wafer level package for LEDs which does not require any carrier

substrate and uses the LED die only, alternatively, the package provides a direct




                                          34
thermal connection from the LED to the heat sink for efficient removal of the

generated heat.” ’612 Patent, 3:39-46.

      96.    The ’612 Patent provides a technical solution to prior art problems by

providing a LED package which removes heat and reflects optical energy away from

a career wafer. ’612 Patent, 3:54-55. “an improved LED in a wafer level processed

(WLP) package is disclosed using vias in the silicon to route the electrical connections

to the LED backside and a dedicated hole in the silicon with a direct heat conduction

route from the LED to the printed circuit board.” ’612 Patent, 3:56-60.

                                Direct Infringement

      97.    Defendants, individually and collectively as a common business

enterprise and without authorization or license from Plaintiff, have been and are

directly infringing the ’612 Patent, either literally or equivalently, as infringement is

defined by 35 U.S.C. § 271, including through making, using (including for testing

purposes), importing, selling, and offering for sale LEDs that infringe one or more

claims of the ’612 Patent. Defendants, individually and collectively as a common

business enterprise, develop, design, manufacture, sell, and distribute LEDs that

infringe one or more claims of the ’612 Patent. Defendants further provide services

that practice methods that infringe one or more claims of the ’612 Patent. Defendants

are thus liable for direct infringement pursuant to 35 U.S.C. § 271. Exemplary

infringing products include, but are not limited to, the Galaxy S8 mobile phone and

Samsung LM101A Series LED and all other substantially similar devices.




                                           35
      98.    Plaintiff names these exemplary infringing instrumentalities to serve as

notice of Defendants’ infringing acts, but Plaintiff reserves the right to name

additional infringing products, known to or learned by Plaintiff or revealed during

discovery, and include them in the definition of ’612 Accused Products.

      99.    Defendants are liable for direct infringement pursuant to 35 U.S.C.

§ 271 for the manufacture, sale, offer for sale, importation, or distribution of the

Samsung Galaxy S8 mobile phone and Samsung LED backlight strips.

      100.   The Samsung Galaxy S8 mobile phone has a flash LED that is a non-

limiting example of a LED that meets all limitations of claim 1 of the ’612 Patent,

either literally or equivalently.

      101.   The Samsung Galaxy S8 has a light emitting device (LED) that serves

as a flash for the camera, as well as a light source for various applications:




      102.   The Samsung Galaxy S8’s LED comprises a substrate that is a yellowish layer

containing phosphor opposing first and second surfaces. The phosphor substrate changes

the blue light emitted from the LED into white light.




                                          36
      103.   The Samsung Galaxy S8’s LED is a semiconductor LED including a doped GaN

LED. The LED has a positively doped region, a negatively doped region, and an intrinsic

region between the positively doped region and the negatively doped region. The intrinsic

region lies between the two doped regions.




                                                                               GaN disposed on
                                                                               first LED surface
                                                                               that emits light




                   Backscattered Electron Image        Magnification: l SOOX




                                                  37
      104.   The negatively doped region of GaN corresponds to the cathode while

the positively doped region of GaN corresponds to the anode of the LED. Such doping

is required for a LED to function. The intrinsic region lies between the two doped

regions. The LED GaN layer includes a surface disposed on the first side of the first

substrate surface, i.e., one surface of the GaN layer is disposed on the surface of the

yellowish phosphor substrate

      105.   The other side of the Samsung Galaxy S8’s LED has a thermally

conducive layer made up of various metals.




                                                                                                                                Thermally
                                                                                                                                conductive layer on
                                                                                                                                the opposite surface
                                                                                                                                of the LED

                                                                                                                         Ni

                         ------                 ---          -----            --          -     --
                                                                                   Separted During Preparation

                                                                                                                         Si
                  -[:1       I       .•    ,.•,.:11--1,111     <::t_'   I'"   H:1   '.1   (QJ,~111          -      :.H   mrr-
                   '!            '        r.
                        Backscattered Electron Image                                                  Magnification: 7000X


      106.   The Samsung Galaxy S8’s LED has a silicon carrier wafer that is

disposed on the thermally conductive layers made up of various metals.




                                                                                          38
                                                                                                 Si carrier wafer
                                                                                                 beneath the GaN and
                                                                                                 metallic thermally
                                                                                                 conductive layer




                         Backscattered Electron hnage                   Magnification: 2000X
                                               (b) SEM Image of Section


      107.   The Samsung Galaxy S8’s LED has an optically reflective silver surface

is disposed between the carrier wafer and the semiconductor LED.



                                                                                                 Silver (Ag) surface
                                                                                                 between the Si carrier
                                                                                                 wafer and the GaN
                                                                                                 semiconductor




                    Backscattered Electron Image                          Magnification: 7000X


      108.   On the opposing surface of the yellowish phosphor substrate from the

Samsung Galaxy S8’s LED, there is a substantially optically transmissive layer, the

“cover substrate” made of silicon


                                                   39
      109.   The optically transmissive layer that covers the substrate may be

removed to expose the remaining layers of the Samsung Galaxy S8’s LED




      110.   The silicon carrier wafer and the thermally conductive metallic layers

are connected to the Samsung Galaxy S8’s second LED surface in order to provide

relief from heat.




                                        40
                                                                                  Thermally conductive
                                                                                  metallic layer
                                                                                  connected to second
                                                                                  LED surface to relieve
                                                                                  heat


                                                                                  Silicon carrier wafer
                                                                                  connected to second
                                                                                  LED surface to relieve
                       Backscattered Electron hnage        Magnification: 7000X
                                                                                  heat

                                    Willful Infringement

      111.   Upon information and belief, Defendants have had actual knowledge (or

should have been aware) of the ’612 Patent and its infringement since at least 2013.

      112.   By at least 2013, Viagan (the previous owner of the patents prior to their

assignment to LED Wafer Solutions LLC) had a series of meetings with technical

personnel at Samsung.

      113.   On information and belief, at least Peter JH Lee, a senior researcher at

Samsung, had access to technical information from Viagan.

      114.   Upon information and belief, at least some of this technical material

described Viagan’s LED technology and clearly stated that Viagan had five pending

patent applications.

      115.   Further, Defendants have had actual knowledge of the ’612 Patent and

its infringement since at least service of Plaintiff’s Complaint.



                                                  41
       116.   Although Samsung has incorporated Viagan’s patented technology as

set forth in this Complaint, Samsung has no license to use the technology described

in Viagan’s technical materials and claims and disclosed in the patents, which have

now been assigned to LED Wafter Solutions LLC

       117.   Defendants’ risk of infringement of the patents-in-suit was either known

or was so obvious that it should have been known to Defendants.

       118.   Notwithstanding this knowledge, Defendants have knowingly or with

reckless disregard willfully infringed the ’612 Patent. Defendants have thus had

actual notice of the infringement of the ’612 Patent and acted despite an objectively

high likelihood that their actions constituted infringement of Plaintiff’s valid patent

rights, either literally or equivalently.

       119.   This objective risk was either known or so obvious that it should have

been known to Defendants. Accordingly, Defendants’ infringement has been and

continues to be willful, and Plaintiff seeks enhanced damages pursuant to 35 U.S.C.

§§ 284 and 285.

               Indirect, Induced, and Contributory Infringement

       120.   Defendants have induced and are knowingly inducing their distributors,

testers, trainers, customers, and/or end-users to directly infringe the ’612 Patent,

with the specific intent to induce acts constituting infringement, and knowing that

the induced acts constitute patent infringement, either literally or equivalently.

       121.   Defendants have knowingly contributed to direct infringement by their

customers by having imported, sold, and/or offered for sale, and knowingly importing,




                                            42
selling, and/or offering to sell within the United States the ’612 Accused Products

which are not suitable for substantial non-infringing use and which are especially

made or especially adapted for use by its customers in an infringement of the asserted

patent.

      122.   Defendants’ indirect infringement includes, for example, providing data

sheets, technical guides, demonstrations, software and hardware specifications,

installation guides, and other forms of support that induce their customers and/or

end-users to directly infringe the ’612 Patent.

      123.   Defendants’ indirect infringement additionally includes marketing their

products for import by their customers into the United States. Defendants’ indirect

infringement further includes providing product specifications instructing its

customers on infringing uses of the accused products. The ’612 Accused Products are

designed in such a way that when they are used for their intended purpose, the user

infringes the ’612 Patent, either literally or equivalently. Defendants know and

intend that customers who purchase the ’612 Accused Products will use those

products for their intended purpose. For example, Defendant’s United States website,

https://www.samsung.com, instructs customers to use the ’612 Accused Products in

numerous infringing applications. Defendants’ customers directly infringe the ’612

Patent when they follow Defendant’s provided instructions. Defendants specifically

intend that their customers, such as United States distributors, retailers and

consumer product companies, will import, use, and sell infringing products in the




                                          43
United States to serve and develop the United States market for Defendants’

infringing products.

        124.   Defendants know following their instructions directly infringes claims

of the ’612 Patent and Defendants’ customers who follow Defendants’ provided

instructions directly infringe the ’612 Patent.

        125.   As a result of Defendants’ infringement, Plaintiff has suffered monetary

damages, and is entitled to an award of damages adequate to compensate it for such

infringement which, by law, can be no less than a reasonable royalty, together with

interest and costs as fixed by this Court under 35 US.C. § 284.


                             COUNT FOUR
                   INFRINGEMENT OF U.S. PATENT 9,786,822

        126.   Plaintiff incorporates by reference the allegations in preceding

paragraphs 1 – 15 as if fully set forth herein.

        127.   The ’822 Patent, entitled “LIGHT EMITTING DIODE PACKAGE AND

METHOD OF MANUFACTURE,” was filed on December 15, 2014, claims priority to

a parent Patent number 8,941,137 filed on March 6, 2012, and issued on October 10,

2017.

        128.   Plaintiff is the assignee and owner of all rights, title, and interest to the

’822 Patent, including the right to recover for past infringements, and has the legal

right to enforce the patent, sue for infringement, and seek equitable relief and

damages.

                                 Technical Description




                                             44
      129.   The ’822 Patent claims a “light emitting diode (LED) device and

packaging . . . manufactured using a vertical configuration including a plurality of

layers.” ’822 Patent, abstract.

      130.   LEDs “compare favorably to other sources of light and are especially

useful in certain applications and markets [by providing] advantages with respect to

energy efficiency, compact, rugged long-lasting design and form factor, as well as

other advantages.” ’822 Patent, 1:27-39. Prior art and “conventional LED devices

[however] can be relatively costly to manufacture by some metrics when compared to

other light sources. One reason for this is the exacting packaging requirements for

manufacturing LEDs. [C]onventional techniques require the use of a carrier

substrate to support the LED, which can double the cost of making and packaging

the LED device. In addition, the carrier substrate greatly increases the thermal

resistivity of the device and adversely affects its heat removal characteristics.

Accordingly, there is a need for LED devices that do not suffer from [these] problems.”

’822 Patent, 1:27-62.

      131.   The ’822 Patent provides a technical solution to prior art problems by

providing a LED having a plurality of layers. “Certain layers act to promote

mechanical, electrical, thermal, or optical characteristics of the device. The device

avoids design problems, including manufacturing complexities, costs and heat

dissipation problems found in conventional LEDs.” ’822 Patent, 2:2-10. The layers

may include “a semiconductor LED including doped and intrinsic regions thereof; a

conducting carrier layer disposed proximal to a first surface of said semiconductor




                                          45
LED and separated therefrom by a metallic interface; an optically permissive layer

proximal to a second surface of said semiconductor LED, said first and second

surfaces of said semiconductor LED being on opposing faces thereof, an optically

definable material proximal to or within said optically permissive layer that affects

an optical characteristic of emitted light passing therethrough; and an optically

permissive cover substrate covering at least a portion of the above components.” ’822

Patent, 2:12-24.

                                   Direct Infringement

      132.   Defendants, individually and collectively as a common business

enterprise and without authorization or license from Plaintiff, have been and are

directly infringing the ’822 Patent, either literally or equivalently, as infringement is

defined by 35 U.S.C. § 271, including through making, using (including for testing

purposes), importing, selling, and offering for sale LEDs that infringe one or more

claims of the ’822 Patent. Defendants, individually and collectively as a common

business enterprise, develop, design, manufacture, sell, and distribute LEDs that

infringe one or more claims of the ’822 Patent. Defendants further provide services

that practice methods that infringe one or more claims of the ’822 Patent. Defendants

are thus liable for direct infringement pursuant to 35 U.S.C. § 271. Exemplary

infringing products include, but are not limited to, the Samsung Galaxy S8 mobile

phone, the Samsung TU8000 Smart Television, and Samsung LM101A Series LED

and all other substantially similar products.




                                           46
      133.   Plaintiff names these exemplary infringing instrumentalities to serve as

notice of Defendants’ infringing acts, but Plaintiff reserves the right to name

additional infringing products, known to or learned by Plaintiff or revealed during

discovery, and include them in the definition of ’822 Accused Products.

      134.   Defendants are liable for direct infringement pursuant to 35 U.S.C.

§ 271 for the manufacture, sale, offer for sale, importation, or distribution of the

Samsung Galaxy S8 mobile phone and Samsung LED backlight strips.

      135.   The Samsung Galaxy S8 mobile phone has a flash LED that is a non-

limiting example of a LED that meets all limitations of claim 1 of the ’822 Patent,

either literally or equivalently.

      136.   The Samsung Galaxy S8 has a light emitting device (LED) that serves

as a flash for the camera, as well as a light source for various applications:




      137.   The Samsung Galaxy S8’s flash LED is protected by an optically

transparent cover substrate:




                                          47
         138.   In Samsung Galaxy S8, beneath the optically transparent cover

substrate, and attached to the cover substrate’s bottom surface, is an optically

transparent layer including an optically definable material. The optically transparent

layer is the yellow portion covering the LED, containing the optically definable

material of phosphor, which changes the blue light emitted from the LED into white

light.




                                                         J



                                                         J


         139.   The Samsung Galaxy S8’s LED is a doped GaN LED. The LED has a

positively doped region, a negatively doped region, and an intrinsic region between

the positively doped region and the negatively doped region. The phosphor active

region is in contact with the GaN semiconductor.




                                         48
                      BackscatteredElectron Image        Magnification.:l 500X

          140.   The negatively doped region of GaN corresponds to the cathode while

the positively doped region of GaN corresponds to the anode of the LED. The intrinsic

region lies between the two doped regions. A surface of the semiconductor LED is in

contact with the lower surface of the optically transparent layer (the yellow phosphor

layer).




                                                                     5001,Jm




                                                49
      141.   The Samsung Galaxy S8’s LED has a carrier layer comprising

conducting metals including gold, tin, nickel, and silver on the opposing side of the

GaN LED from the optically transparent phosphor layer:




                                                                                                                                 Carrier Layer



                                                                         Separted During Preparation                  ;r.


                                                                                                                            s,
                      EE:'1-C ",)( ,\/      V,D1C•1rn1·   StJ-P-'::,DC   111,JfV,L LQJ,71}:X           -:.,.1r·imrr
                       \ I:    1',   J{j   ~.ov ,' l

                        Backscattered Electron Image                                           Magnification: 7000X


      142.   The carrier layer is the lower surface of the LED, whereas the surface

in contact with the optically transparent layer is the upper surface. Therefore, the

two surfaces are on opposing sides of the LED.

      143.   In Samsung Galaxy S8’s LED, a passivation layer of silicon oxide is

disposed on the carrier layer.




                                                                         50
                                                                                    Silicon Oxide
                                                                                    Passivation
                                                                                    Layer




                       Backscattered Electron hnage          Magnification: 7000X

                                                      ,-.,



                                                                                    The Silicon Oxide
                                                                                    Passivation Layer
                                                                                    extends past the
                                                                                    GaN layer and
                                                                                    would be in
                                                                                    contact with an
                                                                                    exposed portion
                                                                                    of the optically
                                                                                    transparent layer




                                                      (b


      144.   The Samsung Galaxy S8’s LED has a first electrical contact is made with

gold through a contact hole defined in the passivation layer:


                                                 51
                                                                                First Electrical
                                                                                Contact




                                                                               First contact
                                                                               hole in the
                                                                               passivation
                                                                               layer




                                                                               Carrier Layer



      145.   The Samsung Galaxy S8’s LED has a second electrical contact is made

with the GaN on the carrier layer through a contact hole defined in the passivation

layer, carrier layer, and LED.


                                                                              Second contact
                                                                              hole in the
                                                                              passivation
                                                                              layer

                                                                               Semiconductor
                                                                               LED


                                                                              Second Electrical
                                                                              Contact


                                                                              Carrier Layer



                   Backscattered Electron Image        Magnification: 1500X




                                                  52
      146.   The second electrical contact is in electrical communication with the

first (upper) surface of the LED.

                                Willful Infringement

      147.   Upon information and belief, Defendants have had actual knowledge (or

should have been aware) of the ’822 Patent and its infringement since at least 2013.

      148.   By at least 2013, Viagan (the previous owner of the patents prior to their

assignment to LED Wafer Solutions LLC) had a series of meetings with technical

personnel at Samsung.

      149.   On information and belief, at least Peter JH Lee, a senior researcher at

Samsung, had access to technical information from Viagan.

      150.   Upon information and belief, at least some of this technical material

described Viagan’s LED technology and clearly stated that Viagan had five pending

patent applications.

      151.   Further, Defendants have had actual knowledge of the ’822 Patent and

its infringement since at least service of Plaintiff’s Complaint.

      152.   Although Samsung has incorporated Viagan’s patented technology as

set forth in this Complaint, Samsung has no license to use the technology described

in Viagan’s technical materials and claims and disclosed in the patents, which have

now been assigned to LED Wafter Solutions LLC

      153.   Defendants’ risk of infringement of the patents-in-suit was either known

or was so obvious that it should have been known to Defendants.




                                          53
       154.   Notwithstanding this knowledge, Defendants have knowingly or with

reckless disregard willfully infringed the ’822 Patent. Defendants have thus had

actual notice of the infringement of the ’822 Patent and acted despite an objectively

high likelihood that their actions constituted infringement of Plaintiff’s valid patent

rights, either literally or equivalently.

       155.   This objective risk was either known or so obvious that it should have

been known to Defendants. Accordingly, Defendants’ infringement has been and

continues to be willful, and Plaintiff seeks enhanced damages pursuant to 35 U.S.C.

§§ 284 and 285.

               Indirect, Induced, and Contributory Infringement

       156.   Defendants have induced and are knowingly inducing their distributors,

testers, trainers, customers, and/or end-users to directly infringe the ’822 Patent,

with the specific intent to induce acts constituting infringement, and knowing that

the induced acts constitute patent infringement, either literally or equivalently.

       157.   Defendants have knowingly contributed to direct infringement by their

customers by having imported, sold, and/or offered for sale, and knowingly importing,

selling, and/or offering to sell within the United States the ’822 Accused Products

which are not suitable for substantial non-infringing use and which are especially

made or especially adapted for use by its customers in an infringement of the asserted

patent.

       158.   Defendants’ indirect infringement includes, for example, providing data

sheets, technical guides, demonstrations, software and hardware specifications,




                                            54
installation guides, and other forms of support that induce their customers and/or

end-users to directly infringe the ’822 Patent.

      159.   Defendants’ indirect infringement additionally includes marketing their

products for import by their customers into the United States. Defendants’ indirect

infringement further includes providing product specifications instructing its

customers on infringing uses of the accused products. The ’822 Accused Products are

designed in such a way that when they are used for their intended purpose, the user

infringes the ’822 Patent, either literally or equivalently. Defendants know and

intend that customers who purchase the ’822 Accused Products will use those

products for their intended purpose. For example, Defendant’s United States website,

https://www.samsung.com, instructs customers to use the ’822 Accused Products in

numerous infringing applications. Defendants’ customers directly infringe the ’822

patent when they follow Defendant’s provided instructions. Defendants specifically

intend that their customers, such as United States distributors, retailers and

consumer product companies, will import, use, and sell infringing products in the

United States to serve and develop the United States market for Defendants’

infringing products.

      160.   Defendants know following their instructions directly infringes claims

of the ’822 Patent and Defendants’ customers who follow Defendants’ provided

instructions directly infringe the ’822 Patent.

      161.   As a result of Defendants’ infringement, Plaintiff has suffered monetary

damages, and is entitled to an award of damages adequate to compensate it for such




                                          55
infringement which, by law, can be no less than a reasonable royalty, together with

interest and costs as fixed by this Court under 35 US.C. § 284.



                                       V.    NOTICE

         162.   LED Wafer has complied with the notice requirement of 35 U.S.C. § 287.

This notice requirement has been complied with by all relevant persons at all relevant

times.

                                 VI.    JURY DEMAND

         163.   Plaintiff demands a trial by jury of all matters to which it is entitled to

trial by jury, pursuant to FED. R. CIV. P. 38.

                             VII.   PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for judgment and seeks relief against

Defendants as follows:

         A.     That the Court determined that one or more claims of the Asserted

         Patents is infringed by Defendants, both literally and under the doctrine of

         equivalents;

         B.     That the Court determine that one or more claims of the Asserted

         Patents is indirectly infringed by Defendants;

         C.     That the Court award damages adequate to compensate Plaintiff for the

         patent infringement that has occurred, together with prejudgment and post-

         judgment interest and costs, and an ongoing royalty for continued

         infringement;




                                             56
D.       That the Court permanently enjoin Defendants pursuant to 35 U.S.C.

§ 283;

E.       That the Court find this case to be exceptional pursuant to 35 U.S.C.

§ 285;

F.       That the Court determined that Defendants’ infringements were willful;

G.       That the Court award enhanced damages against Defendants pursuant

to 35 U.S.C. § 284;

H.       That the Court award reasonable attorneys’ fees; and

I.       That the Court award such other relief to Plaintiff as the Court deems

just and proper.




                                    57
Dated: March 25, 2021        Respectfully Submitted,

                             /s/ E. Leon Carter
                             E. Leon Carter
                             lcarter@carterarnett.com
                             Texas Bar No. 03914300
                             Scott W. Breedlove
                             sbreedlove@carterarnett.com
                             State Bar No. 00790361
                             Joshua J. Bennett
                             jbennett@carterarnett.com
                             Texas Bar No. 24059444
                             Bradley D. Liddle
                             bliddle@carterarnett.com
                             Texas Bar No. 24074599
                             Nathan Cox
                             ncox@carterarnett.com
                             Texas Bar No. 24105751
                             CARTER ARNETT PLLC
                             8150 N. Central Expy, 5th Floor
                             Dallas, Texas 75206
                             Telephone No. (214) 550-8188
                             Facsimile No. (214) 550-8185

                             /s/ Erick S. Robinson
                             Erick S. Robinson
                             erobinson@porterhedges.com
                             Texas Bar No. 24039142
                             PORTER HEDGES LLP
                             1000 Main Street, 36th Floor
                             Houston, Texas 77002
                             Telephone No. (713) 226-6615
                             Facsimile No. (713) 226-6215

                             ATTORNEYS FOR PLAINTIFF




                        58
